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                 Exhibit 2
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                                                      U.S. Department of Justice

                                                      Criminal Division



Money Laundering and Asset Recovery Section           Washington, D.C. 20530




                                                      March 26, 2020

VIA Electronic Mail

David B. Smith, Esq.
David B. Smith, PLLC
108 North Alfred Street, 1 st FL
Alexandria, Virginia 22314

         RE:      In Re: Petitions for Relief 1 :18-mc-00167-ABJ (D.D.C.)
                  United States v. Paul J Manafort, Jr., No. 17-cr-201-1 ABJ (D.D.C.)

Dear Mr. Smith:

        On March 11,2020, by electronic mail, you transmitted extensive discovery requests to
the United States, including Requests for Production, Requests for Admission, and
Interrogatories. As you know, the Court's, February 19,2020, Memorandum Opinion and Order
granted the United States' motion for discovery pursuant to Fed. R. Crim. P. 32.2 and authorized
the government to propound discovery to Petitioner Woodlawn, LLC. Dkt. No. 106. The
Court's Order does not authorize Woodlawn to propound discovery to the United States. Id.

        Indeed, Woodlawn filed a motion for summary judgment premised on an absence of a
disputed material fact (Dkt. No. 44), and, in opposition to the United States' motion for
discovery, expressly argued that "Woodlawn does not believe that any discovery is necessary to
resolve its claims ... " Dkt. No. 61 at 14 (emphasis in original). Thus, your expansive discovery
requests do not seem necessary or desireable to resolve factual issues in this case.

       Because Woodlawn neither requested nor obtained a Court order pursuant to Fed. R.
Crim. P. 32.2 authorizing it to propound discovery, the United States objects to and will not
respond to any of your unauthorized discovery requests.


                                               Sincerely,


                                               lsi Daniel H Claman
                                               Daniel H. Claman
                                               Money Laundering and
                                                   Asset Recovery Section
